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                                          About the Firm
        With offices throughout New Jersey in Red Bank, Newark, and New Brunswick, Keefe
Bartels aggressively pursues maximum recoveries in plaintiffs’ individual and class action litigation,
including privacy rights, products liability, general negligence, securities and corporate governance,
environmental pollution, employment and consumer fraud. Our geographic diversity assures fast
access to all Federal and State Courts and various business centers throughout New Jersey, New
York, and Pennsylvania.

        Keefe Bartels has the experience, skill and competence to investigate, litigate and
victoriously try the hardest cases, including class actions and complex civil litigation. Our attorneys
have handled numerous securities and corporate governance, pharmaceutical marketing, franchising,
consumer fraud, mass tort and class matters. The latter include Rezulin®, Propulsid®, Diet-Drug,
Breast Implant, Vioxx®, Vytorin® and Asbestos litigation. Steve Grygiel, an experienced trial and
class action lawyer and co-head of the firm’s class action practice, is a member of the Plaintiffs’
Steering Committee in the In re Facebook Internet Tracking Litigation privacy rights case pending
in the Northern District of California. Steve served on the Plaintiffs Steering Committee in the
successful Vytorin litigation. John E. Keefe, Jr., a managing partner and Certified Civil Trial
Attorney, was appointed plaintiffs’ co-lead counsel in the historic consumer fraud national class
action, Talalai v. Cooper Tire & Rubber Co., the settlement of which is valued at between one
billion ($1,000,000,000) and three billion ($3,000,000,000) dollars to consumers. As part of
preliminary settlement approval, the Talalai Court described Keefe Bartels’s strong experience in
complex mass tort litigation. Talalai v. Cooper Tire & Rubber Co., MID-l-8839-00, slip op. at 13
(October 30, 2001).

       The Court in Janes v. Ciba, in which Mr. Keefe is lead counsel, found:

               “The court agrees with plaintiffs that their attorneys are qualified and
               experienced to conduct this litigation. Class counsel has the requisite experience,
               skill, and competency in dealing with class actions and complex civil litigation.”

                         Janes v. CIBA-GEIGY Corp., MID-L-1669-01 (Law Div. May 16, 2003)
                         (Slip. Op., Corodemus, J.), at p. 22.

       Combined with the attorneys’ talents, the proven abilities and dedication of the firm’s
paraprofessionals and support personnel ensure that all clients and class members get the
outstanding, timely, and cost effective representation to which they are entitled.

       For more information, please visit the firm's website at www.keefebartels.com

                                         Office Locations
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   170 Monmouth Street                     57 Paterson Street                     56 Ferry Street
   Red Bank, NJ 07701                   New Brunswick, NJ 08901                  Newark, NJ 07105
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                                         Attorney Profiles

                      John E. Keefe, Jr.
                      Certified Civil Trial Attorney

                               John E. Keefe, Jr., a Certified Trial Attorney, has devoted much of his
                      time to civil trial practice in Middlesex, Monmouth and Ocean Counties,
                      specializing in negligence and product liability as well as complex mass tort
                      litigation. John was admitted to the bar in 1990.

                                Having founded Keefe Bartels in 1996, John, the firm’s co-managing
partner, leads our plaintiffs’ personal injury, mass tort litigation and complex litigation department.
He has tried numerous matters to verdict and prosecuted hundreds of cases on behalf of victims of
catastrophic loss. He has been appointed by the Superior Court as plaintiffs liaison counsel in an
historic consumer fraud national class action, Talalai v. Cooper Tire & Rubber Co. (Docket No.:
MID-L-8830-00-MT ) the settlement of which is valued at between one billion ($1,000,000,000) and
three billion ($3,000,000,000) dollars to consumers. John was lead counsel on behalf of plaintiffs in
one of the largest pollution cases in New Jersey, Janes v. Ciba Geigy Corporation (Docket No.:
MID-L-1669-01-MT). John served as local counsel in the securities class action litigation, In Re
Sears, Roebuck & Co. Securities Litigation (Docket No. 02-C-07527) which resulted in a two
hundred and fifteen million dollar ($215,000,000) cash settlement.

        Also, John served as liaison counsel in In Re Royal Dutch/Shell Transport Securities
Litigation - (Civil Action No.: 04-374 (JWB)) before Judge Joel Pisano and the Hormone
Replacement Therapy Litigation (Docket No.: ATL-2093-04 MT) before Judge Carol E. Higbee. He
has also served as Co-Counsel in a national consumer fraud class settlement in Chicago, Illinois on
behalf of thousands of consumers nationwide. Additional matters John has handled include: motor
vehicle wrongful death, product liability, disfigurement, total disability, premises liability, burn
injuries, worksite OSHA violations, multiple trauma, hospital negligence wrongful death and long
term care negligence involving burns and wrongful death.

       AV rated by Martindale-Hubbell, John earned his B.A. degree from Gettysburg College in
1987 and his Juris Doctor degree at Seton Hall University School of Law in 1990. He is admitted to
the Bar of the State of New Jersey, U.S. District Court, District of New Jersey and the U.S. District
Court, Northern District of Florida, and Washington D.C.
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                                        Attorney Profiles


                      Stephen G. Grygiel
                      Class Action Co-Chair/Member

                              Stephen G. Grygiel is a member and co-chair of the Keefe Bartels
                      Class Action Department. Steve Grygiel's class action and complex litigation
                      practice focuses primarily on consumer rights, securities and corporate
                      governance.

                               Steve has successfully litigated and tried shareholder dissolution and
                       shareholder rights cases and injunction actions, bankruptcy court adversary
proceedings (recoupment and debtor fraud), and many other corporate and commercial matters.
These include In re Sprint Corp. Shareholders Litig. (Dist. Ct., Johnson Cty., Kansas, 04-CV-01714)
(tracking stock recombination; $57.5 Million settlement); In re New York Stock
Exchange/Archipelago Merger Litig. (N.Y. Sup. Ct., Index No. 601646/05); In re Marsh &
McLennan Companies, Inc. Sec. Litig. (S.D.N.Y. 04-CV-08144) (securities fraud; $400 Million
Settlement); In La. Mun. Police and Employees Retirement System, et al. on behalf of Shareholders
of Caremark RX (Del. Ct. Chan. 2635-CC); and In re Vytorin/Zetia Marketing, Sales Practices &
Products Liability Litigation (MDL No. 1938; D.N.J., Master Docket #08-0285 (DMC)).

        Steve has written and spoken on numerous topics, including the implications of the Supreme
Court's Twombly and Iqbal rulings for third party payor cost-recovery pharmaceutical litigation, the
Private Securities Litigation Reform Act, the Securities Litigation Uniform Standards Act, the Class
Action Fairness Act, ethical issues in class action practice, and the Supreme Court's Stoneridge and
Tellabs decisions. Steve has also been selected by the National Trial Lawyers Association as one of
the Top 100 Trial Lawyers in New Jersey.

        AV rated by Martindale-Hubbell, Steve graduated from Hamilton College (magna cum
laude, Phi Beta Kappa, 1979) and from Harvard Law School (1986). Steve clerked for the Chief
Justice of Maine's Supreme Judicial Court before entering practice. Steve is admitted in Maine,
Massachusetts, Delaware and New York.
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                                        Attorney Profiles

                      Jennifer L. Harwood
                      Associate

                              Jennifer concentrates her practice in the areas of complex mass tort,
                      class actions, wrongful death litigation, personal injury, products liability, and
                      medical malpractice. Jennifer has consistently been named a "New Jersey
                      Super Lawyers Rising Star" for the past six years by New Jersey Monthly
                      Magazine, an honor that only 2.5% of all lawyers in New Jersey receive
                      annually. In 2012, Jennifer was selected by The National Trial Lawyers
                      Association as one of the Top 40 attorneys under the age of 40 in the State of
                      New Jersey.

       Jennifer recently spoke on the topic Using the Internet to Improve Your Practice at the New
Jersey State Bar Association’s Mid-Year Meeting in Ireland in November, 2011. In her free time,
Jennifer volunteers as a Court Appointed Special Advocate responsible for watching over and
advocating for abused and neglected children in the foster care system.

       Jennifer earned a Bachelor of Arts degree in Political Science and a Bachelor of Science
degree in the Administration of Justice from Rutgers University in 1997. Upon earning her Juris
Doctorate degree from Seton Hall University School of Law in 2001, she clerked for the Honorable
Edmond M. Kirby, J.S.C. in the Superior Court of New Jersey, Essex County. Jennifer is admitted
in New Jersey and New York. She is currently a member of the New Jersey State Bar Association,
the National Trial Lawyers Association and the American Association for Justice.
